
PER CURIAM.
Upon review of the record on appeal and after consideration of the briefs and oral arguments of counsel for the respective parties, we determine that appellee-plain-tiff, REC Centers, Inc., failed to exhaust available administrative remedies before initiating court action against appellant-defendant, Atlantic Gas Corporation. Therefore, the trial court erred in denying appellant’s motion to dismiss the appellee’s complaint.
Accordingly, the trial court order denying appellant’s motion to dismiss is reversed and the cause remanded to the trial court with directions to dismiss appellee’s complaint.
Reversed and remanded, with directions.
WALDEN, CROSS and MAGER, JJ., concur.
